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                          IN THE UNITED
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                                        STATES DISTRICT COURT
                       FOR THE WESTE    DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA
                                                               Criminal No. 18-292
                        V.


 ROBERT BOWERS


                                         PR I TECTIVE ORDER

        To expedite the flow of disco1ery material between the parties,' facilitate the prompt

resolution of disputes over confidentiality and sensitivity, adequately protect individually

identifiable person identity information rtitled to be kept confidential, and to adequately protect

the individuals' privacy interests in sensitive materials, pursuant to the Court's authority under
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Fed. R. Crim. P. 16(d), it is hereby ORDERED:

        1.         Limited Use of Discoved:       The defendant, including defendant's counsel and their
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personnel, may use these documents only for the purposes of representing the defendant in the criminal

case and may not be used for any other puJose. Materials shall be retained by counsel, and no copies may

be left with the defendant. Except as sJ forth below, the materials shall not be disseminated and/or

provided, whether in original or duplicate form, without further order of this court, and no person shall

disclose the substance of these materials o anyone without the express permission of the Court or as

provided herein.

        2.         Other than the defendant and his counsel, the materials may be shown to and discussed

with, and copies provided to, persons engaJd to assist in the defense (defined as persons who are included

within the attorney-client or work product Jrivilege, regardless of whether they receive any remuneration),

including experts retained by the defendan~ in connection with the Criminal Case. Prior to receipt of any

discovery material, persons who are provihed copies of discovery materials must review this Protective

Order, agree to abide by the limitations   1     dissemination imposed in this Protective Order, and sign a

certification that they have read the ProteJtive Order and agree to be bound by its restrictions. Defense
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counsel will maintain a copy of said signed eertifications, as well as a log of the specific materials provided

to each person receiving said materials. Pos~-case disposition of the materials provided to persons engaged

to assist in the defense shall be governed by the provisions set forth below in Paragraph 7.

         3.                                  1
                 Potential witnesses, and c unsel for potential witnesses, may be shown copies of the

materials, but copies may not be left with jotential witnesses or their counsel, absent further order of the

Court.

         4.      Under no circumstances s all the discovery be used for any purpose other than that

provided for in this Protective Order absent an order from this Court.

         5.      Discovery Materials in Open Court: No party shall file discovery materials with or submit

them to the Court or reproduce their conteLs in any court filing unless the document or filing is placed

under seal. The procedures for use of disrovery during any hearing or the trial of this matter shall be

determined by the parties and the Court in advance of the hearing or trial. The parties shall consider

measures such as redacting confidential dLuments to remove individual identifiers, request the court to

submit such documents under seal, code thl documents to substitute a numerical or other designation for

the person's name or other identifying infJrmation, and/or request that any exhibit be placed under seal.

No party shall disclose discovery materials in open court without prior consideration by the Court.

         6.      Filing of documents: The <Clerk shall accept for filing under seal any documents or filings

so marked by the parties pursuant to the abLe paragraphs.

         7.      Post-Case Disposition: uJon conclusion of all stages of this case, all of the materials and

all copies made thereof shall be destroyed   dr returned to the United States. Counsel for the defendant shall
certify in writing that the materials have beln returned or destroyed. If any discovery materials were used
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as defense exhibits, defense counsel shal'l identify these documents, which shall be maintained with

government exhibits so long as those are +uired to be maintained.

         8.      Modification Permitted. rothing in this Order shall prevent any party from seeking

modification of this Protective Order or , rom objecting to discovery that it believes to be otherwise

improper. No party shall seek modification of this Protective Order ex parte.
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            9.                          No Ruling on Discoverability or Admissibility. This Protective Order does not constitute

a ruling on the question of whether any pa~icular material is properly discoverable or admissible and does

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not constitute any ru 1·mg on any potentra                               l. .
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Honorable Donetta W. Ambrose
United States District Judge


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Date                                                       7
